                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                          No: 23-2756

                                    United States of America

                                                     Appellee

                                                v.

                                    Derek Michael Chauvin

                                                     Appellant


______________________________________________________________________________

              Appeal from U.S. District Court for the District of Minnesota
                               (0:21-cr-00108-PAM-1)
______________________________________________________________________________

                                            ORDER

       The petition for rehearing by the panel is denied.

                                                      September 19, 2023




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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